Case 2:18-cV-O4956-I\/|SG Document 1 Filed 11/16/18 Page 1 of 16
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Case 2:18-cV-O4956-I\/|SG Document 1 Filed 11/16/18 Page 2 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

cAsE MANAGEMENT TRACK DESIGNATIoN FoRM
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biban °rtvttt/€, Ll/C, Uraf § No.

In accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Traek Designation Fonn in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1 :03 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and Selve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to Which that defendant believes the case should be assigned

CIVIL ACTION

SELECT ONE ()F THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Colpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretaiy of Health
and l-luman Serviccs denying plaintiff Social Security Beneflts. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.)

( )
(f) Standard Management - Cases that do not fall into any one of the other tracks. (\A/

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Case 2:18-cV-O4956-I\/|SG Document 1 Filed 11/16/18 Page 3 of 16

Ur\'iTEI) STATES DIS'[`R]CT COURT
FOR THE EASTERN DISTRICT DF PENNSYLVANLA

DES[GNATION FORl\Jl
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1. is this case related to property included in an earlier numbered suit pending or within one year Yes |:| No|Z/
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2. Does this case involve the same issue offact or grow out ofthe same transaction as a prior suit Yes |::| No E/
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3. Does this case involve the validity or infringement ofa patent already in suit or any earlier Yes E No |Z’
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4. is this ease a second or successive habeas corpus, social security appeal, or pro se civil rights Yes m No |J/
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1 certify that, to my knowledge, the within case l:l is f is not related to any case now pending or within one year previously terminated action in

this court except as noted above. %;0
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exceed the sum ofSlS0,000.00 exclusive ofinterest and costs:

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NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

 

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Case 2:18-cV-O4956-I\/|SG Document 1 Filed 11/16/18 Page 4 of 16

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

PURELL CURBEAN
4901 Stenton Avenue, Apt. G-7
Philadelphia, PA 19144
JURY DEMANDED
Plaintiff,

v.

No.
LIBERATION HOUSE, LLC
5249 Locust Street
Philadeiphia, PA 19139
And
LEGACY HOUSE, LLC
5249 Locust Street
Phiiadelphia, PA 19139
And
LIBERATION WAY, LLC
90 W. Afton Ave, Suite 101
Yardley, PA 19067

Defendants

CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

i. Plaintiff, PURELL CURBEAN (hereinafter “Plaintiff") is an adult individual
residing at the above address

2. Defendant, LIBERATION HOUSE, LLC (“Liberation House”) is a business
corporation organized and existing under the laws of the Commonweaith of Pennsyivania and a

business address as captioned above.

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3. Defendant, LEGACY HOUSE, LLC (“Legacy”) is a business corporation
organized and existing under the laws of the Commonweaith of Pennsylvania and a business
address as captioned above.

4. Defendant, LIBERATION WAY, LLC (“Liberation Way") is a business
corporation organized and existing under the laws of the Commonweaith of Pennsyivania and a
business address as captioned above. Liberation House, Liberation Way and Legacy are referred
to collectively hereinafter as “Defendants.”

5. At all times material hereto, Defendants employed Plaintiff at Liberation W ay
treatment facility in Yardley, PA, and qualified as Plaintiff`s employer under the Americans With
Disabiiities Act, the Famiiy and Medicai Leave Act and the Pennsylvania Human Reiations Act
(“PHRA”).

6. Piaintiff exhausted his administrative remedies pursuant to the Equal Employrnent
Opportunity Act and the Pennsyivania Human Relations Act. (See Exhibit A_. a true and correct
copy of a dismissal and notice of rights issued by the Equai Entployment Opportunity
Commission.)

7. This action is instituted pursuant to the Americans with Disabilities Act, the
Family and Medical Leave Act, the Pennsylvania Human Relations Act and applicable federal
and state iaw.

8. Jurisdiction is conferred by 28 U.S.C. §§ 133l and 1343.

9. Suppiemcntai jurisdiction over the Piaintiffs state law claims is conferred
pursuant to 28 U.S.C. § 1367.

10. Pursuant to 28 U.S.C. § i391(b)(l) and (b)('£), venue is properly laid in this

district because Defendant conducts business in this district, and because a substantial part of the

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acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district
Plaintiff was working for Defendant in the Eastern District of Pennsyivania at the time of the
illegal actions by Defendant as set forth herein.

II. Operative Facts.

l 1. On or about August 1, 2016, Plaintiff was hired by Defendants as a driver and
house manager at Liberation Way addiction treatment center at 90 W. Afton Avenue, Yardlcy,
PA 19067.

12. On January 2, 2017, Plaintiff experienced a heart attack while at work, while he
was engaged in driving a van owned by Defendants.

13. Plaintiff asked his co-worl-;er to take him to Lankenau Hospital.

14. Defendants’ supervisor Steve Wiiiiams called Plaintiff's cell phone while he was
hospitalized
15. As Plaintiff was indisposed, Plaintift"s aunt answered the phone.

16. l\/ir. Williams proceeded to ask Plaintist aunt when Plaintiff would be returning
to work, because Mr. Williams was “tired of doing [Plairttiffs] work."'

17. Plaintiff was released from Lankenau I-lospital on .lanuary 7, 2017 and proceeded
to return to work that same day.

18. Upon his return to work, Plaintiff attempted to provide l\/ir. Williams with medical
records of his admission to the hospital and Plaintifi"s discharge paperwork, however l\/Ir.
Wiliiams refused to accept it.

19. On or about May 2, 2017, Plaintiff had a follow-up appointment with his
physician, Dr. Louella Hargett.

20. During this appointment, Plaintiff underwent an EKG, which came back in'eguiar.

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21. Dr. l-largett became so concerned with the results of the EKG she advised that
Plaintiff was put under too much stress at work, and that he should be out on medical leave to
facilitate his recovery and avoid another heart attack.

22. Additionally, Dr. Hargett was concerned with Plaintifl"s immediate wellbeing and
explained she wanted to call an ambulance to take him directly to the hospital from her office for
further testing

23. Plaintiff declined the ambulance, but drove himself to Temple Hospital, where his
heartrate was found to be extremely low.

24. Following his discharge from Temple Hospital, Plaintiff provided Mr. Williams
with a note from Dr. Hargett, stating he needed to be out of work from May 11, 2017 with a
tentative return to work date of September 4, 2017.

25. Mr. Williams became upset and repeatedly asked Plaintiff “when he would be
coming back” because he’d have to "hire someone to replace him.“

26. Plaintiff additionally gave his doctor’s note to Mr. Williarns’ supervisors
l\/lohammed and Shannon.

27. Plaintiff asked Shannon for the contact information for Defendants’ Human
Resources department so that he could discuss his medical leave.

28. Plaintiff was told by Shannon and l\/lohammed he could take his doctor-advised
leave, and that his “job would be there” when he returned

29. At no time was FMLA or any other disability leave option discussed with

Plaintiff.

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30. In the weeks leading up to Plaintift"s tentative return to work date of September 4,
2017, Plaintiff continually communicated with Mr. Williams to advise of his return to work
pending clearance from his doctor.

31. On September 4, 2017, Plaintiff received a text message from Mr. Williams that
consisted only of several question marks.

32. Plaintiff assumed Mr. Williams was asking if he was coming in to work, to which

Plaintiff responded that he had not had an appointment with his doctor yet clearing him to return

to work.
33. On September 15, 2017, Plaintiff was cleared to return to work.
34. Upon his return, Plaintiff was assigned to work the l lpin to 7am overnight shift,

which was a completely different shift than that which he had previously worked.

35. Upon information and belief, employees without a diagnosed medical condition
Were given Plaintist previous position

36. Plaintiff worked this new shift without complaint, however Mr. Williams began to
nitpick various things about Plaintiff s work that had never been an issue before, such as how
Plaintiff had done the dishes and laundry.

37. On one occasion, shortly following his return to work, Plaintiff was instructed by
Mr. Williams to take several program members to a recovery walk which was happening during
the day.

38. Plaintiffrefused_. stating that he was now working an overnight shift, he would not

be able to come off of working all night and then go directly to working during the day as Well.

39. l\/lr. Williams responded that it “didn’t seem like Plaintiff wanted to work”.

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40. On October 2, 2017, Plaintiff was contacted by another of Defendants’
supervisors, Devon.

41. Devon told Plaintiff that he was fired, and that it "just wasn’t working out.”

42. Plaintiff was given no other explanation for his termination

43. Prior to his heart attack and his need to take medical leave, Plaintiff had no write-
ups, issues, or complaints.

44. At all times material hereto, Defendants were hostile to Plaintiff"s diagnosed
disability and need to take a physician-advised medical leave and terminated him as a result of
this aniinus.

45. As a direct and proximate result of Defendants’ conduct in terminating Plaintit`f,
Plaintiff sustained great economic loss, future lost earning capacity, lost opportunity, loss of
future wages, as well emotional distress, humiliation, pain and suffering and other damages as
set forth below.

III. Causes of Action.

CoUNr 1 _ TITLE 1 CLAIM--AMERICANS wrrH DrsABILITIEs Ac'r
(42 u.s.c.A. § 12101 er seq)

46. Plaintiff incorporates paragraphs 1-44 as if fully set forth at length herein.

47. At all times material hereto, and pursuant to the Americans with Disabilities Act
of 1990, 42 U.S.C. §12101, et seq,, an employer may not discriminate against an employee based
on a disability

48. Plaintiff is a qualified employee and person within the definition of Americans
with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

49. Defendant is an “employer” and thereby subject to the strictures of the Americans

with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

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50. At all times material hereto, Plaintiff had a qualified disability, as described
above.

51. Defendant’s conduct in terminating Plaintiff is an adverse action, was taken as a
result of his disability and constitutes a violation of the Americans with Disabilities Act of 1990,
42 U.S.C. §12101, et seq,.

52. As a proximate result of Defendant’s conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
has also sustained work loss, loss of opportunity, and a permanent diminution of his earning
power and capacity and a claim is made therefore.

53. As a result of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages

54. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq
Plaintiff demands attorneys fees and court costs.

CoUNT 11 _ vioLATroN oF THE PENNSYLVANIA HUMAN RELATIONS Ac'r
(43 P.s. § 955)

55. Plaintiff incorporates paragraphs 1-53 as if fully set forth at length herein.

56. At all times material hereto, and pursuant to the Pennsylvania Human Relations
Act, 43 P.S. § 951, et seq,, an employer may not discriminate against an employee based on a
disability.

57. Plaintiff is a qualified employee and person within the definition of Pennsylvania

I-luman Relations Act, 43 P.S. § 951, et seq,.

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58. Defendant is an “employer” and thereby subject to the strictures of the
Pennsylvania Human Relations Act, 43 P.S. § 951, et seq,.

59. At all times material hereto, Plaintiff had a qualified disability, as described
above. Plaintiffs disability profoundly interfered with his day to day life activities

60. Defendant’s conduct in terminating Plaintiff is an adverse action, was taken as a
result of his disability and constitutes a violation of the Pennsylvania l-Iuman Relations Act, 43
P.S. § 951, et seq,.

61. As a proximate result of Defendant’s conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity: loss of future wages, loss of front pay, loss of back pay, loss of tips as well as
personal injury, emotional distress, mental anguish, humiliation, pain and suffering_,
consequential damages and Plaintiff has also sustained work loss, loss of opportunity, and a
permanent diminution of his earning power and capacity and a claim is made therefore

62. As a result of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages

63. Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951 , et seq.,
Plaintiff demands attorneys fees and court costs
IV. Relief Requested.

WHEREFORE, Plaintiff Purell Curbean demands judgment in his favor and against
Defendants in an amount in excess of $150,000.00 together with:

A. Compensatory damages including but not limited to: back pay, front pay, past lost

wages, future lost wages Lost pay increases, lost pay incentives, lost opportunity, lost

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benefits, lost future earning capacity, injury to reputation, mental and emotional
distress, pain and suffering
Punitive damages;

Attorneys fees and costs of suit;

.U.OW

Interest, delay damages; and,

in

Any other further relief this Court deems just proper and equitable

LAW OFFICES OF ERIC A. SH()RE, P.C.

GRAHAM F. BAIRI), resourth
Two Penn Center

1500 JFK Boulevard, Suite 1240
Philadelphia, PA 19110

Attorney for Plaintiff, Purell Curbean
Date: ll fs- f

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EXH. A

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EEOCFMW.MHHE, U.S. EouAL EMPl_oanENT OPPoRTuNlTY Colvrr\.irssioN

 

NoncE oF thHT To Sue
' (CoivcrriA nom FAirURE)

To'. From:

Philaclelphia District Office

801 Ntarket Street
Purell Curbean Suite 1300

4901 Stenton Avenue, Apt., G? philadelphia pA 19107
Phi|ade|phia, PA 19144

On behalf ofperson(s) aggrieved whose identih/ is
CONFIDENTIAL (29 CFR §1601.7(6:))

 

EEOC Charge No. EEOC Representalive Telephone No.
Legal Unit,
530-201 8-021 83 Legal Technician {215) 440-2828

 

TO THE PERSON AGGR|EVED:

This notice concludes the EEOC’s processing of the above-numbered charge. The EEOC found reasonable cause to believe
that violations of the statute(s) occurred with respect to some or all of the matters alleged in the charge but could not obtain a
settlement with the Respondent that would provide relief for you. |n addition, the EEOC has decided that it will not bring suit
against the Respondent at this time based on this charge and will close its tile in this case. This does not mean that the EEOC
is certifying that the Respondent is in compliance with the law, or that the EEOC will not sue the Responclent later or intervene
later in your lawsuit if you decide to sue on your own behalf

- NOT|CE OF SU|T RIGHTS -

(See the additional information attached to this form.)

Title Vll, the Arnericans with Disabilities Act, the Genetic lnt'ormation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed W|THlN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpaymentl This means that backpay due for any violations that occurred more than 2 years t3 vearsl
before you file suit may not be collectib|e.

|f you tile suitl based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission

 

3/20/20/8

 

E"C'°S'-"esisl J mie R. Williamson, (Dale M¢’="'I'Ed)

District Director

CC: Muhammed Abdul - Hadi CEOIOwner
LEGACY HOUSE, LLC Dr'BlA LlBERATION HOUSE
Graham F. Baird, Attorney at Law (for Charging Party)

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Enclosure with EEOC
Fcrm 161-lt (i ll1E)

lNFoRMATroN RELATED To FlLlNc SurT
Unoen THE LAws ENFoRcED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described beiow.)

Title Vll of the Civi| Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employrnent Act (ADEA):

PRlVATE SU|T RlGHTS

ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date, Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. lf you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Noticel and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

\/our lawsuit may be filed in U.S` District Court or a State court of competent jurisdiction (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. lf so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your sultmay include
any matter alleged in the charge or, to the extent permitted by court decisions matters like or related to the matters
alleged in the charge. General|y, suits are brought in the State where the alleged unlawful practice occurredl but in
some cases can be brought where relevant employment records are kepl, where the employment would have
been. or where the respondent has its main office. |f you have simple questions you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRNATE Surr RlGHTs -- Equa| Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EF’A underpayment back
pay due for violations that occurred more than 2 years 13 yearsl before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7l1l08 to 12l1l08, you should file suit
before 7/1/10 - not 12l1l10 -» in order to recover unpaid wages due for Ju|y 2008. This time limit for filing an EPA
suit ls separate from the QO-day filing period under Title Vl|, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title V|ll the ADA, GlNA or the ADEA, in addition to suing on the EF’A
claim, suit must be filed within 90 days of this Notice a_rLd_ within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPREsENTATloN -- Title Vlll the ADA or GINA:

|f you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 590-day period mentioned above,
because such requests do n_ot relieve you of the requirement to bring suit within 90 days

ATTORNEY REFERRAL AND EEOC ASSlSTANCE -- All StatUteS:

You may contact the EEOC representative shown on your Notice ii you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. lf you need to
inspector obtain a copy of information in EEOC's tile on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). Whi|e EECC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
ti|e, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

fF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAlNT TO THlS OFFlCE.

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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2003 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (l) a physical or mental impairment that
substantially limits one or more major life activities factual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability However, these terms are redefinedl and it is easier to
be covered under the new low.

If you plan to retain an attorney to assist you with vour ADA claim, we recommend that you share this
information with your attornev and suggest that he or she consult the amended regulations and
appendix. and other ADA related publications., available at
http:l/www.ceoc.gov/lawsltvpesldisability regulations.cfm.

“Actual” disability or a “record ot” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (rnore examples at 29 C.F.R. §

1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, rcspiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive limetions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, dcpression, multiple sclerosis) or “in rcmission" (e.g.,
cancer) is a disability if it Would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months

VV

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leavc,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

The employer has a defense against a “regardcd as" claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the

“regarded as” definition of “disability.”

Note: Althouglz the amended ADA states that the definition of disability “slzall be construed broadly” and
“should not demand extensive analysis, ” some courts require specificity in the complaint explaining how an
impairment substantially lirrtits a major life activity or what facts indicate the challenged employment action
was because of the irripm`rment. Beyond the initial pleading stuge, some courts will require specific evidence
to establish disabilu]). For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http:l/www.eeoc.gov/laws/types/disability regu_lations.cfm.

